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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF GEORGIA
                                        ROME DIVISION

              BRITTANY STANFIELD,
                             Plaintiff,               CIVIL ACTION FILE
                  v.                                  NO. 4:12-CV-0202-WEJ
              SDFC, ONE, INC., et al.,
                            Defendants.


                                                  ORDER

                   On August 27, 2012, plaintiff, Brittany Stanfield, filed the instant action [1]

             for unpaid overtime compensation pursuant to the Fair Labor Standards Act

             (“FLSA”), 29 U.S.C. § 216(b). On January 2, 2013, the parties filed their Joint

             Motion for Approval of Settlement Agreement [18], voluntarily seeking to settle and

             dismiss this case. The parties have agreed that defendants shall pay plaintiff

             $5,200.00 in full compensation of her claim for overtime pay plus liquidated

             damages and will pay her attorney his fees of $15,000.00. (See Jt. Mot.; Settlement

             Agreement.)

                   Settlement of an action under the FLSA stands distinctly outside the practice

             common to, and accepted in, other civil actions. In Lynn’s Food Stores, Inc. v.

             United States, 679 F.2d 1350 (11th Cir. 1982), the Eleventh Circuit explained that




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             claims for back wages under the FLSA may only be settled or compromised when

             the Department of Labor supervises the payment of back wages or when the district

             court enters a stipulated judgment “after scrutinizing the settlement for fairness.”

             679 F.2d at 1352-55.        Likewise, the “FLSA requires judicial review of the

             reasonableness of counsel’s legal fees to assure both that counsel is compensated

             adequately and that no conflict of interest taints the amount the wronged employee

             recovers under a settlement agreement.” Silva v. Miller, 307 F. App’x 349, 351

             (11th Cir. 2009).

                    Here, the parties acknowledge that the amount to be paid by defendants

             “compensates Ms. Stanfields for all overtime wages she believes she is owed . . . and

             also compensates her attorney for his legal services.” (Jt. Mot. ¶ 3; see also id. ¶ 4

             (“The agreement fully settles the Federal FLSA violation . . . .”); Settlement

             Agreement (“Defendant shall pay to Plaintiff . . . [$20,200.00] . . . in complete

             settlement and satisfaction of Plaintiff’s claims . . . .”).) As plaintiff will receive full

             compensation of her overtime claim and her counsel will receive full satisfaction of

             his associated fees, the Court finds the settlement to be fair, reasonable, and

             satisfactory. See Hanks v. Racetrack Petroleum, Inc., No. 6:11-cv-1368-Orl-28DAB,




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             2011 WL 4408242, at *2 (M.D. Fla. Sept. 9, 2011) (“Full recompense is per se fair

             and reasonable.”).

                    For the reasons stated above, the Court APPROVES the Settlement

             Agreement [18-1] and DIRECTS defendant to pay plaintiff and counsel the amounts

             set forth in that Agreement. Additionally, counsel should file a stipulation of

             dismissal with prejudice within TEN (10) DAYS of the date of this Order. See Fed.

             R. Civ. P. 41(a)(1)(A)(ii) (permitting plaintiff to dismiss case without a court order

             by, inter alia, filing a stipulation of dismissal signed by all parties).

                    SO ORDERED, this 8th day of January, 2013.




                                                WALTER E. JOHNSON
                                                UNITED STATES MAGISTRATE JUDGE




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